         Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 1 of 28




 1
     John J. Nelson (SBN 317598)
 2   MILBERG COLEMAN BRYSON
     PHILLIPS GROSSMAN, PLLC
 3   401 W. Broadway, Suite 1760
     San Diego, CA 92101
 4   Telephone: (858) 209-6941
     Fax: (865) 522-0049
 5   Email: jnelson@milberg.com

 6   Gary. M. Klinger*
     Glen L. Abramson*
 7   Alexandra M. Honeycutt*
     MILBERG COLEMAN BRYSON
 8   PHILLIPS GROSSMAN, PLLC
     227 W. Monroe Street, Suite 2100
 9   Chicago, Illinois 60606
     Telephone: 866.252.0878
10   Email: gklinger@milberg.com
            gabramson@milberg.com
11          ahoneycutt@milberg.com
12 Attorneys for Plaintiff

13
                                 UNITED STATES DISTRICT COURT
14
                          FOR THE DISTRICT OF NORTHERN CALIFORNIA
15
                                         SAN JOSE DIVISION
16
   C.M., on behalf of herself and all others       Case No. ___________________
17 similarly situated,
                                                   CLASS ACTION COMPLAINT
18                 Plaintiff,
                                                   JURY TRIAL DEMANDED
19          v.
20 BETTERHELP, INC.,

21                 Defendant.
22

23

24

25

26

27

28


                                 PLAINTIFF’S CLASS ACTION COMPLAINT
         Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 2 of 28




 1          Plaintiff C.M.1 bring this class action complaint on behalf of herself and all others similarly

 2 situated (the “Class Members”) against BetterHelp, Inc. (“BetterHelp” or “Defendant”). The

 3 allegations contained in this class action complaint are based on Plaintiff’s personal knowledge of

 4 facts pertaining to herself and upon information and belief, including further investigation conducted

 5 by Plaintiff’s counsel.

 6                                     NATURE OF THE ACTION

 7          1.     This is a class action lawsuit brought on behalf of a nationwide class to address

 8 Defendant’s improper, unauthorized, and illegal disclosure of their personally identifiable

 9 information (“PII”) and/or protected health information (“PHI”) (collectively referred to as “Private
10 Information”) to third-party advertising platforms such as Facebook, Snapchat, and others.

11          2.     Information about a person’s mental health is among the most confidential and
12 sensitive information in our society, and the mishandling of medical information can have serious

13 consequences, including discrimination in the workplace or denial of insurance coverage. If people

14 do not trust that their medical information will be kept private, they may be less likely to seek

15 medical treatment, which can lead to more serious health problems down the road. In addition,

16 protecting medical information and making sure it is kept confidential and not disclosed to anyone

17 other than the person’s medical provider is necessary to maintain public trust in the healthcare

18 system as a whole.

19          3.     Recognizing these facts, and in order to implement requirements of the Health

20 Insurance Portability and Accountability Act of 1996 (“HIPAA”), the United States Department of

21 Health and Human Services (“HHS”) has established “Standards for Privacy of Individually

22 Identifiable Health Information” (also known as the “Privacy Rule”) governing how health care

23 providers must safeguard and protect Private Information. Under the HIPAA Privacy Rule, no health

24 care provider can disclose a person’s personally identifiable protected health information to a third

25 party without express written authorization.

26

27   1
     Plaintiff brings this action anonymously to protect her confidential personal health information,
28 which  is protected under the Health Insurance Portability and Accountability Act of 1996
   (“HIPAA”).
                                                      2
                             CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 3 of 28




 1          4.     Defendant has developed, advertised, and offered for sale an online mental health

 2 counseling service that matches users with Defendant’s therapists and then facilitates counseling via

 3 Defendant’s websites, including www.betterhelp.com, and apps. In addition to general mental health

 4 counseling services, Defendant offers specialized counseling services for specific demographics,

 5 including but not limited to teens (via www.teencounseling.com), people of Christian faith (via

 6 www.faithfulcounseling.com),        and     members      of    the    LGBTQ       community       (via

 7 www.pridecounseling.com). Defendants’ separate websites and apps are collectively referred to

 8 herein as “Defendants’ Website” or the “Website.”

 9          5.     Millions of consumers have signed up for Defendant’s counseling services. In doing
10 so, those customers entrusted Defendant with their Private Information, including their health status

11 and histories, mental health condition, and symptoms and treatment sought, as well as identifying

12 information such as names, email addresses, and IP addresses.

13          6.     Recognizing the sensitivity of this Private Information, Defendant repeatedly
14 promised to keep it private and use it only for non-advertising purposes such as to facilitate

15 consumers’ mental health therapy.

16          7.     Rather than protecting Plaintiff’s and Class Members’ confidential and sensitive
17 Private Information, however, Defendant installed web beacons and cookies on its Website to track

18 users and collect data and information about them that it could later monetize.

19          8.     According to a complaint filed by the Federal Trade Commission (“FTC”), from
20 2013 to December 2020, Defendant continually broke its promises to protect consumers’ Private

21 Information, instead using it to target existing and new customers with advertising for its services.

22 Defendant also handed over Plaintiff’s and Class Members’ Private Information to some of the

23 largest online advertising companies in the world, such as Facebook, Pinterest, Criteo, and Snapchat,

24 often permitting these companies to use the sensitive Private Information for their own research,

25 product development, and advertising purposes.

26          9.     The FTC also alleged that Defendant: (i) failed to employ reasonable measures to
27 safeguard Private Information it collected from customers; (ii) failed to properly train its employees

28 to protect Private Information when using it for advertising; (iii) failed to properly supervise staff

                                                      3
                           CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
           Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 4 of 28




 1 in the use of Private Information; (iv) failed to provide customers with proper notice as to the

 2 collection, use, and disclosure of their Private Information; and (v) failed to limit how third parties

 3 could use customers’ Private Information.

 4            10.     The FTC’s Director of its Bureau of Consumer Protection, Samuel Levine, recently

 5 stated, “Digital health companies and mobile apps should not cash in on consumers’ extremely

 6 sensitive and personally identifiable health information,” noting that the sale of this information

 7 constituted blatant “misuse and illegal exploitation.”

 8            11.     In response to the use of tracking and data collection technologies by companies

 9 offering health care services, the Office for Civil Rights at the U.S. Department of Health and
10 Human Services (“HHS”) recently published a bulletin concerning the Use of Online Tracking

11 Technologies by HIPAA Covered Entities and Business Associates (the “Bulletin”). 2 The Bulletin

12 warns that:

13            An impermissible disclosure of an individual’s PHI not only violates the Privacy
              Rule but also may result in a wide range of additional harms to the individual or
14            others. For example, an impermissible disclosure of PHI may result in identity theft,
              financial loss, discrimination, stigma, mental anguish, or other serious negative
15            consequences to the reputation, health, or physical safety of the individual or to
              others identified in the individual’s PHI. Such disclosures can reveal incredibly
16            sensitive information about an individual, including diagnoses, frequency of visits to
              a therapist or other health care professionals, and where an individual seeks medical
17            treatment. While it has always been true that regulated entities may not
              impermissibly disclose PHI to tracking technology vendors, because of the
18            proliferation of tracking technologies collecting sensitive information, now more
              than ever, it is critical for regulated entities to ensure that they disclose PHI only as
19            expressly permitted or required by the HIPAA Privacy Rule.

20            12.     And as recently noted by the Hon. William J. Orrick in a decision concerning the use
21 of the data tracking technologies by healthcare organizations, “[o]ur nation recognizes the

22 importance of privacy in general and health information in particular: the safekeeping of this

23 sensitive information is enshrined under state and federal law.” 3

24            13.     Consequently, Plaintiff brings this action for legal and equitable remedies to address
25 and rectify the illegal conduct and actions described herein.

26
     2
27       https://www.hhs.gov/hipaa/for-professionals/privacy/guidance/hipaa-online-tracking/index.html
     3
28    In re Meta Pixel Healthcare Litig., No. 22-CV-03580-WHO, 2022 WL 17869218, at *1 (N.D.
     Cal. Dec. 22, 2022)
                                                         4
                             CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 5 of 28




 1                                    JURISDICTION AND VENUE

 2          14.        This Court has subject matter jurisdiction over this action under 28 U.S.C.

 3 § 1332(d) because this is a class action wherein the amount in controversy exceeds the sum or value

 4 of $5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed

 5 class, and at least one member of the class is a citizen of a state different from Defendant.

 6          15.        This Court has personal jurisdiction over Defendant because its principal place of

 7 business is in this District and many of the acts and omissions giving rise to Plaintiff’s claims

 8 occurred in and emanated from this District.

 9          16.        Venue is proper under 18 U.S.C § 1391(b)(1) because Defendant’s principal place
10 of business is in this District.

11                                    DIVISIONAL ASSIGNMENT

12          17.        Pursuant to Civil Local Rule 3-2(c), a substantial part of the events giving rise to

13 the claims brought in this Complaint occurred in Santa Clara County, California. Consequently,

14 assignment of this action to the San Jose Division is appropriate.

15                                             THE PARTIES

16          18.     Plaintiff C.M. is an adult citizen of the State of Texas. She brings this action

17 anonymously to protect her confidential personal health information, which is protected under

18 HIPAA.

19          19.     Defendant BetterHelp, Inc. is a Delaware corporation with a principal place of

20 business located at 990 Villa Street, Mountain View, CA 94041.

21          20.     Defendant does business under various other names in addition to BetterHelp,

22 including Compile, Inc., Mytherapist, Teen Counseling, Faithful Counseling, Pride Counseling,

23 Icounseling, Regain, and Terappeuta.

24                                     FACTUAL ALLEGATIONS

25 Background

26          21.     Defendant BetterHelp has been in operation since 2013, offering online mental health

27 counseling services via various websites and apps.

28

                                                       5
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
           Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 6 of 28




 1            22.     Defendant’s primary website, www.betterhelp.com, offers general counseling

 2 services and has been in operation since 2013. In addition, Defendant has numerous other websites

 3 and apps that are targeted to more specific demographics. In 2016, Defendant began offering

 4 marriage and relationship counseling and services via www.regain.us. In 2017, Defendant began

 5 offering specialized counseling to teenagers via www.teencounseling.com, to people of Christian

 6 faith via www.faithfulcounsling.com, to the LGBTQ community via www.pridecounseling.com.

 7            23.     Since its inception, Defendant has signed up over 2 million users and as of 2022 had

 8 more than 374,000 active users in the United States. Defendant earned more than $345 million in

 9 revenue in 2020 and more than $720 million in revenue in 2021.
10 Defendant’s Deceptive and Unfair Marketing Practices

11            24.     Defendant has spent significant efforts since inception advertising and marketing its

12 services through various digital and traditional media platforms, including television and radio as

13 well as podcasts, search engine ads, and through third parties such as Facebook, Snapchat, Pinterest,

14 and Criteo.

15            25.     Defendant has spent tens of millions of dollars annually to market its counseling

16 services. In 2020, Defendant spent between $10-20 million on Facebook advertising alone. This

17 advertising was extremely successful; by 2021, Defendant’s advertising through Facebook was

18 generating approximately 90,000 – 120,000 new customers per year.

19            26.     Defendant markets all of its services by offering online communications with

20 licensed therapists telling “who you can trust.” BetterHelp also claims that customers using its

21 therapists will “get the same professionalism and quality you would expect from an in-office

22 therapist, but with the ability to communicate when and how you want.” 4

23

24

25

26

27

28   4
         betterhelp.com (last visited March 6, 2023)
                                                        6
                             CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 7 of 28




 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11
               27.   Customers signing up for Defendant’s counseling services pay between $60 and $90
12
     per week. To sign up for counseling services, a customer must fill out an online intake questionnaire
13
     and answer a detailed series of questions about the customer’s personal life and mental health,
14
     including age, gender, marital/relationship status, whether the customer has ever been in therapy
15
     before. The online questionnaire also asks questions about the customer’s subjective rating of their
16
     physical health, eating habits, financial status, and sleep habits, and the customer’s employment
17
     status.
18
               28.   The questionnaire also asks a series of questions about symptoms or reasons why
19
     the customer is seeking therapy (e.g., feelings of depression, anxiety, grief, etc.), including asking
20
     if the customer is “experiencing overwhelming sadness, grief, or depression” or has been having
21
     thoughts that the customer “would be better off dead or hurting yourself in some way.”
22
               29.   The questionnaire also asks if the customer identities as religious or as a member of
23
     the LGBTQ community, directing them to Faithful Counseling or Pride Counseling, respectively.
24
     In addition, teenagers are directed to Teen Counseling.
25
               30.   According to the FTC, in 2017, Defendant delegated most decision-making authority
26
     over its use of Facebook’s advertising services to a junior marketing analyst who was a recent
27
     college graduate, had never worked in marketing, and had no experience and little training in
28

                                                       7
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 8 of 28




 1 safeguarding consumers’ Private Information when using that information for advertising. In 2017

 2 Defendant gave the analyst unilateral authority to decide what Private Information to upload to

 3 Facebook and how to use that information. Defendant provided this marketing analyst with little

 4 training on how to protect customers’ Private Information in connection with advertising until 2021.

 5          31.    Until November 2021, Defendant’s Website included privacy assurances throughout

 6 the pages of the questionnaire. For example, at the top of each question, Defendant stated that it was

 7 asking for “general and anonymous” background information (emphasis added). In reality, the

 8 information collected was not anonymous.

 9          32.    In addition, from at least August 2017 to December 2020, Website visitors taking the
10 questionnaire who reached the question about whether they were taking any medication were shown

11 the statement: “Rest assured – any information provided in this questionnaire will stay private

12 between you and your counselor.” In December 2020, this statement was changed to read: “Rest

13 assured – this information will stay private between you and your counselor.” In January 2021, the

14 statement was changed again, reading: “Rest assured – your health information will stay private

15 between you and your counselor.” In October 2021, Defendant removed this representation

16 altogether.

17          33.    Defendant also made false promises about its use of customers’ email addresses,
18 telling visitors to the Faithful Counseling, Pride Counseling, and Teen Counseling websites during

19 the sign-up process that their email addresses would not be shared. From at least August 2017 to

20 December 2020, Defendant assured such Website visitors that “Your email address is kept strictly

21 private. It is never shared sold or disclosed to anyone. Even your counselor won’t know your real

22 email address.” (emphasis added)

23          34.    Millions of Website visitors, including those like Plaintiff and Class Members who
24 ultimately signed up for Defendant’s counseling services, were presented with these repeated

25 promises about the confidentiality of the Private Information they shared with Defendant. Despite

26 these promises, however, Defendant used Private Information extensively for Defendant’s own

27 profit, including by sharing and disclosing Private Information and selling email addresses.

28

                                                      8
                           CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 9 of 28




 1         35.    The FTC’s complaint against Defendant sets forth in great detail the extent to which

 2 Defendant brazenly violated Plaintiff’s and Class Members’ privacy and other rights by disclosing

 3 Private Information to third parties like Facebook, Snapchat, and others. A copy of the FTC’s

 4 complaint is attached hereto as Exhibit “A.” A few highlights are worth noting here:

 5                •   The intake questionnaire’s privacy assurances were “displayed in large, high-
 6                    contrast, unavoidable text,” while Defendant’s privacy policies were linked in

 7                    “small, low-contrast writing that is barely visible at the bottom of the page.” When

 8                    Defendant added a banner at the bottom of each page in September 2020

 9                    disclosing its use of cookies, it still falsely stated: “We never sell or rent any
10                    information you share with us.” Exh. A at 7-9. This was false.
11                •   Defendant’s privacy policies went through numerous iterations that each
12                    contained deceptive and misleading statements about Defendant’s use and
13                    disclosure of Private Information. While Defendant disclosed it would use web
14                    beacons (including pixels) and cookies for certain limited purposes, it never
15                    disclosed that it would use or disclose Private Information for advertising
16                    purposes or to sell to third parties for their own purposes. Id. at 9-10
17                •   Defendant disclosed millions of Class Members’ Private Information to
18                    advertisers including Facebook. Over 7 million email addresses were uploaded to
19                    Facebook, which “matched over 4 million of these Visitors and Users with their
20                    Facebook user IDs, linking their use of the Service for mental health treatment
21                    with their Facebook accounts.” Defendant also allowed Facebook to
22                    “automatically track certain actions” of Website users known as “Events.”
23                    Defendant “recorded and automatically disclosed these Events to Facebook
24                    through web beacons [Defendant] had placed on each of the [Websites].”
25                    Defendant and Facebook used this data to target advertising to millions of Class
26                    Members. Id. at 10-12.
27         36.    On March 2, 2023, the FTC announced that it had finalized a Consent Order with
28 Defendant addressing Defendant’s deceptive and misleading business practices in using sensitive

                                                      9
                          CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 10 of 28




 1 personally identifiable information and personal health information and disclosing it to third parties.

 2 See Exhibit B.

 3          37.     As part of the Consent Order, Defendant has agreed to pay $7.8 million to the FTC

 4 and to be subject to various auditing and compliance monitoring procedures in connection with its

 5 privacy policies and handling of customer data and information. Id.

 6          38.     In addition, Defendant is required under the Consent Order to provide its customers

 7 with a Notice advising customers about the FTC action and telling customers that (i) it will tell the

 8 advertising companies that received customers’ information to delete it; (ii) it is no longer sharing

 9 customers’ health information with other companies for advertising and it is no longer sharing
10 customers’ personal information for advertising without the customers’ permission; and (iii) it will

11 enhance its privacy program to better protect customers’ personal health information, including

12 participating in an independent audit program every two years for the next 20 years. Id. at 22-23.

13 Defendant Was Enriched and Benefitted from the Use and Disclosure of Plaintiff’s and Class
   Members’ Private Information, Which Had Financial Value
14
         39.     In exchange for disclosing the Private Information of its patients, Defendant was
15

16 able to obtain tens or hundreds of thousands of new customers, each of whom paid between $60 and

17 $90 per week for Defendant’s counseling services.

18          40.       Defendant’s disclosure of Private Information also hurt Plaintiff and the Class.
19 Conservative estimates suggest that in 2018, Internet companies earned $202 per American user

20
   from mining and selling data. That figure is only due to keep increasing; estimates for 2022 are as
21
   high as $434 per user, for a total of more than $200 billion industry wide.
22
           41.      The value of health data in particular is well-known and has been reported on
23

24 extensively in the media. For example, Time Magazine published an article in 2017 titled “How

25 Your Medical Data Fuels a Hidden Multi-Billion Dollar Industry” in which it described the

26

27

28

                                                     10
                           CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
           Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 11 of 28




 1 extensive market for health data and observed that the market for information was both lucrative

 2 and a significant risk to privacy. 5

 3
              42.         Similarly, CNBC published an article in 2019 in which it observed that “[d]e-
 4
     identified patient data has become its own small economy: There’s a whole market of brokers who
 5
     compile the data from providers and other health-care organizations and sell it to buyers.” 6
 6

 7 IP Addresses Are Personally Identifiable Information

 8            43.         On information and belief, Defendant also disclosed and sold Plaintiff’s and Class

 9 Members’ Computer IP addresses.
10            44.         An IP address is a number that identifies the address of a device connected to the
11
     Internet.
12
              45.         IP addresses are used to identify and route communications on the Internet.
13
              46.         IP addresses of individual Internet users are used by Internet service providers,
14
     websites, and third-party tracking companies to facilitate and track Internet communications.
15

16            47.         Under HIPAA, an IP address is considered personally identifiable information:

17                  •   HIPAA defines personally identifiable information to include “any unique
18                      identifying number, characteristic or code” and specifically lists the example of IP
19
                        addresses. See 45 C.F.R. § 164.514 (2).
20
                    •   HIPAA further declares information as personally identifiable where the covered
21
                        entity has “actual knowledge that the information to identify an individual who is a
22

23                      subject of the information.” 45 C.F.R. § 164.514(2)(ii); See also, 45 C.F.R. §

24                      164.514(b)(2)(i)(O).

25

26
     5
27       See https://time.com/4588104/medical-data-industry/ (last visited February 16, 2023).
     6
28    See https://www.cnbc.com/2019/12/18/hospital-execs-say-theyre-flooded-with-requests-for-
     your-health-data.html (last visited February 16, 2023).
                                                         11
                               CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 12 of 28




 1          48.        Consequently, by disclosing IP addresses, Defendant’s business practices violated

 2 HIPAA and industry privacy standards.

 3
     Defendant Violated Industry Standards
 4
            49.        A medical provider’s duty of confidentiality is a cardinal rule and is embedded in
 5
     the physician-patient and hospital-patient relationship.
 6
            50.        The American Medical Association’s (“AMA”) Code of Medical Ethics contains
 7

 8 numerous rules protecting the privacy of patient data and communications.

 9          51.        AMA Code of Ethics Opinion 3.1.1 provides:

10          Protecting information gathered in association with the care of the patient is a core value in
            health care… Patient privacy encompasses a number of aspects, including, … personal data
11          (informational privacy)
12          52.        AMA Code of Medical Ethics Opinion 3.2.4 provides:
13
            Information gathered and recorded in association with the care of the patient is confidential.
14          Patients are entitled to expect that the sensitive personal information they divulge will be
            used solely to enable their physician to most effectively provide needed services. Disclosing
15          information for commercial purposes without consent undermines trust, violates principles
            of informed consent and confidentiality, and may harm the integrity of the patient-physician
16          relationship. Physicians who propose to permit third-party access to specific patient
            information for commercial purposes should: (A) Only provide data that has been de-
17          identified. [and] (b) Fully inform each patient whose record would be involved (or the
            patient’s authorized surrogate when the individual lacks decision-making capacity about the
18          purposes for which access would be granted.

19             53.     AMA Code of Medical Ethics Opinion 3.3.2 provides:

20          Information gathered and recorded in association with the care of a patient is confidential,
            regardless of the form in which it is collected or stored. Physicians who collect or store
21          patient information electronically…must…:(c ) release patient information only in keeping
            ethics guidelines for confidentiality.
22

23                   PLAINTIFF’S EXPERIENCE WITH DEFENDANT’S WEBSITE
24          54.      Beginning in January 2020, Plaintiff C.M. sought counseling services from
25
     Defendant to deal with stress and anxiety she was experiencing as the result of serving as a caregiver
26
     for her husband, who was critically ill at the time.
27

28

                                                       12
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 13 of 28




 1          55.     Plaintiff filled out the intake questionnaire and ultimately decided to sign up for

 2 Defendant’s services, paying $130/month for a monthly subscription for psychotherapy and mental

 3
     health counseling.
 4
            56.     Prior to deciding to transact with Defendant, Plaintiff viewed and relied upon
 5
     Defendant’s representations concerning its commitment to maintaining the confidentiality of Private
 6

 7 Information communicated by consumers via Defendant’s web platforms. Had Plaintiff known that

 8 Defendant would not maintain her information as private and confidential, Plaintiff would not have

 9 purchased Defendant’s services or would have paid less for them.
10          57.     Over the next two months, Plaintiff spoke with two BetterHelp therapists to discuss
11
     her mental health issues. Plaintiff’s therapy sessions occurred approximately once per week via the
12
     BetterHelp app on her smartphone.
13
            58.     In December 2021, Plaintiff again sought psychotherapy and mental health
14

15 counseling services from Defendant. From December 2021 through March 2022, Plaintiff paid

16 $1,005 for numerous live video and telephone therapy sessions with two separate BetterHelp

17 therapists.

18
            59.     Beginning in October 2022, Plaintiff again sought psychotherapy and mental health
19
     counseling services from Defendant, paying an additional $965 for monthly subscriptions and add-
20
     on live therapy sessions.
21
            60.     Plaintiff reasonably expected that her communications with Defendant via the
22

23 Website and app were confidential, solely between herself and Defendant and her therapists, and

24 that such communications would not be disclosed to a third party.

25          61.     Plaintiff has an active Facebook account that she accesses on her computer and
26
     smartphone. She also has an active Pinterest account.
27

28

                                                     13
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 14 of 28




 1          62.     On information and belief and based on Defendant’s standard practices as described

 2 herein and in the FTC complaint, Defendant disclosed Plaintiff’s Private Information and

 3
     communications to third parties, including when she completed her intake questionnaire on
 4
     Defendant’s Website.
 5
            63.     On information and belief, information disclosed by Defendant to Facebook included
 6

 7 Plaintiff’s Facebook ID and allowed Facebook to link her Private Information to her Facebook

 8 account, allowing Facebook to target ads to Plaintiff.

 9          64.     Through the process detailed in this Complaint, Defendant disclosed Plaintiff’s
10 communications and Private Information, including those that contained personally identifiable

11
     information, protected health information, and related confidential information, to third parties.
12
     Defendant never disclosed to Plaintiff that it would disclose, sell, or otherwise share her Private
13
     Information with third parties. Instead, Defendant disclosed Plaintiff’s Private Information without
14

15 Plaintiff’s knowledge, consent, or express written authorization.

16          65.     Thus, Defendant misrepresented the manner in which it handled Plaintiff’s Private

17 Information and unlawfully disclosed Plaintiff’s Private Information.

18
                                    CLASS ACTION ALLEGATIONS
19
            66.     Plaintiff brings this action on behalf of herself and on behalf of all other persons
20
     similarly situated (“the Class”) pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules
21
     of Civil Procedure.
22

23          67.     The Nationwide Class that Plaintiff seeks to represent is defined as follows:

24          All individuals residing in the United States whose Private Information was
            disclosed to a third party without authorization or consent through a
25          BetterHelp Website or App (including betterhelp.com, teencouneling.com,
            faithfulcounseling.com, pridecounseling.com, and regain.us).
26
            68.     Excluded from the Class are Defendant, its agents, affiliates, parents, subsidiaries,
27
     any entity in which Defendant has a controlling interest, any Defendant officer or director, any
28

                                                       14
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 15 of 28




 1 successor or assign, and any Judge who adjudicates this case, including their staff and immediate

 2 family.

 3
             69.      Plaintiff reserves the right to modify or amend the definition of the proposed classes
 4
     before the Court determines whether certification is appropriate.
 5
             70.      Numerosity, Fed R. Civ. P. 23(a)(1). The Class Members for each proposed Class
 6

 7 are so numerous that joinder of all members is impracticable. Upon information and belief, there

 8 are millions of individuals whose Private Information may have been improperly disclosed to third

 9 parties, and the Class is identifiable within Defendant’s records.
10           71.      Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3). Questions of law and fact common
11
     to each Class exist and predominate over any questions affecting only individual Class Members.
12
     These include:
13
              a. Whether and to what extent Defendant had a duty to protect the PII and PHI of Plaintiff
14

15                 and Class Members;

16            b. Whether Defendant had duties not to disclose the PII and PHI of Plaintiff and Class

17                 Members to unauthorized third parties;
18            c. Whether Defendant violated its Privacy Policies by disclosing the PII and PHI of
19
                   Plaintiff and Class Members to Facebook, Snapchat, Pinterest, Criteo, and/or
20
                   additional third parties;
21
              d. Whether Defendant adequately, promptly, and accurately informed Plaintiff and Class
22

23                 Members that their PII and PHI would be disclosed to third parties;

24            e. Whether Defendant violated the law by failing to promptly notify Plaintiff and Class
25                 Members that their PII and PHI had been compromised;
26
              f. Whether Defendant adequately addressed and fixed the practices which permitted the
27
                   disclosure of patient PHI and PII;
28

                                                        15
                             CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 16 of 28




 1            g. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing to

 2                safeguard the PII and PHI of Plaintiff and Class Members;
 3
              h. Whether Defendant violated the consumer protection statutes invoked herein;
 4
              i. Whether Plaintiff and Class Members are entitled to actual, consequential, and/or
 5
                  nominal damages as a result of Defendant’s wrongful conduct;
 6
              j. Whether Defendant knowingly made false representations as to its data security and/or
 7

 8                Privacy Policies practices;

 9            k. Whether Defendant knowingly omitted material representations with respect to its data
10                security and/or Privacy Policies practices; and
11
            72.     Typicality, Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of those of other
12
     Class Members because each had their Private Information misused and disclosed as a result of
13
     Defendant’s conduct.
14

15          73.     Adequacy, Fed. R. Civ. P. 23(a)(4). Plaintiff will fairly and adequately represent and

16 protect the interests of the Class Members in that Plaintiff has no disabling conflicts of interest that

17 would be antagonistic to those of the other Members of the Class. Plaintiff seeks no relief that is

18 antagonistic or adverse to the Members of the Class and the infringement of the rights and the

19
   damages Plaintiff has suffered are typical of other Class Members. Plaintiff has also retained counsel
20
   experienced in complex class action litigation, and Plaintiff intends to prosecute this action
21
   vigorously.
22

23          74.     Superiority and Manageability, Fed. R. Civ. P. 23(b)(3). Class litigation is an

24 appropriate method for fair and efficient adjudication of the claims involved. Class action treatment

25 is superior to all other available methods for the fair and efficient adjudication of the controversy

26
     alleged herein; it will permit a large number of Class Members to prosecute their common claims
27
     in a single forum simultaneously, efficiently, and without the unnecessary duplication of evidence,
28

                                                      16
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 17 of 28




 1 effort, and expense that hundreds of individual actions would require. Class action treatment will

 2 permit the adjudication of relatively modest claims by certain Class Members, who could not

 3
     individually afford to litigate a complex claim against large corporations, like Defendant. Further,
 4
     even for those Class Members who could afford to litigate such a claim, it would still be
 5
     economically impractical and impose a burden on the courts.
 6
            75.     Policies Generally Applicable to the Class. This class action is also appropriate for
 7

 8 certification because Defendant has acted or refused to act on grounds generally applicable to the

 9 Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of
10 conduct toward the Class Members and making final injunctive relief appropriate with respect to

11
     the Class as a whole. Defendant’s policies challenged herein apply to and affect Class Members
12
     uniformly and Plaintiff’s challenge of these policies hinges on Defendant’s conduct with respect to
13
     the Class as a whole, not on facts or law applicable only to Plaintiff.
14

15          76.     The nature of this action and the nature of laws available to Plaintiff and Class

16 Members make the use of the class action device a particularly efficient and appropriate procedure

17 to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

18 necessarily gain an unconscionable advantage since they would be able to exploit and overwhelm

19
   the limited resources of each individual Class Member with superior financial and legal resources;
20
   the costs of individual suits could unreasonably consume the amounts that would be recovered;
21
   proof of a common course of conduct to which Plaintiff was exposed is representative of that
22

23 experienced by the Class and will establish the right of each Class Member to recover on the cause

24 of action alleged; and individual actions would create a risk of inconsistent results and would be

25 unnecessary and duplicative of this litigation.

26
            77.     The litigation of the claims brought herein is manageable. Defendant’s uniform
27
     conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class
28

                                                       17
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 18 of 28




 1 Members demonstrate that there would be no significant manageability problems with prosecuting

 2 this lawsuit as a class action.

 3
            78.      Adequate notice can be given to Class Members directly using information
 4
     maintained in Defendant’s records.
 5
            79.      Unless a Class-wide injunction is issued, Defendant may continue in its failure to
 6

 7 properly secure the Private Information of Class Members, Defendant may continue to refuse to

 8 provide proper notification to Class Members regarding the practices complained of herein, and

 9 Defendant may continue to act unlawfully as set forth in this Complaint.
10          80.      Further, Defendant has acted or refused to act on grounds generally applicable to
11
     each Class and, accordingly, final injunctive or corresponding declaratory relief with regard to the
12
     Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil
13
     Procedure.
14

15          81.      Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

16 because such claims present only particular, common issues, the resolution of which would advance

17 the disposition of this matter and the parties’ interests therein. Such particular issues include, but

18
     are not limited to:
19
                  a. Whether Defendant owed a legal duty to not disclose Plaintiff’s and Class Members’
20
                     Private Information;
21
                  b. Whether Defendant owed a legal duty to not disclose Plaintiff’s and Class Members’
22

23                   Private Information with respect to Defendant’s Privacy Policies;

24                c. Whether Defendant breached a legal duty to Plaintiff and Class Members to exercise

25                   due care in collecting, storing, using, and safeguarding their Private Information;
26
                  d. Whether Defendant failed to comply with its own policies and applicable laws,
27
                     regulations, and industry standards relating to data security;
28

                                                       18
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 19 of 28




 1                 e. Whether Defendant adequately and accurately informed Plaintiff and Class Members

 2                    that their Private Information would be disclosed to third parties;
 3
                   f. Whether Defendant failed to implement and maintain reasonable security procedures
 4
                      and practices appropriate to the nature and scope of the information disclosed to third
 5
                      parties; and
 6
                   g. Whether Class Members are entitled to actual, consequential, and/or nominal
 7

 8                    damages, and/or injunctive relief as a result of Defendant’s wrongful conduct.

 9           82.      Plaintiff reserves the right to amend or modify the Class definition as this case
10 progresses.

11
                                                  COUNT I
12                                 BREACH OF IMPLIED CONTRACT
                               (On behalf of Plaintiff and the Nationwide Class)
13
             83.      Plaintiff repeats and re-alleges each and every allegation contained in the Complaint
14
     as if fully set forth herein.
15
             84.      When Plaintiff and Class Members provided their Private Information to Defendant
16

17 in exchange for services, they entered into an implied contract pursuant to which Defendant agreed

18 to safeguard and not disclose their Private Information without consent.

19           85.      Plaintiff and Class Members accepted Defendant’s offers and provided their Private
20
     Information to Defendant.
21
             86.      Plaintiff and Class Members would not have entrusted Defendant with their Private
22
     Information in the absence of an implied contract between them and Defendant obligating Defendant
23
     to not disclose Private Information without consent.
24

25           87.      Defendant breached these implied contracts by disclosing Plaintiff’s and Class

26 Members’ Private Information to third parties, including Facebook, Snapchat, Pinterest, and Criteo.

27           88.      As a direct and proximate result of Defendant’s breaches of these implied contracts,
28
     Plaintiff and Class Members sustained damages as alleged herein. Plaintiff and Class Members
                                                        19
                              CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 20 of 28




 1 would not have used Defendant’s services, or would have paid substantially for these services, had

 2 they known their Private Information would be disclosed.

 3
            89.     Plaintiff and Class Members are entitled to compensatory and consequential damages
 4
     as a result of Defendant’s breach of implied contract.
 5
                                         COUNT II
 6                 VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
                               Cal. Bus. & Prof. Code § 17200
 7

 8          90.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully set
 9 forth herein and brings this claim individually and on behalf of the proposed Class.
10
           91.    This Count is pleaded in the alternative to the breach of contract count above.
11
           92.    California’s Unfair Competition Law (“UCL”) prohibits any “unlawful, unfair, or
12
   fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising.” Cal.
13

14 Bus. & Prof. Code § 17200.

15          93.     Defendant engaged in unlawful business practices in connection with its disclosure
16 of Plaintiff’s and Class Members’ Private Information to unrelated third parties, including

17
     Facebook, Snapchat, Pinterest, and Criteo, in violation of the UCL.
18
            94.     The acts, omissions, and conduct of Defendant were controlled, directed, and
19
     emanated from its California headquarters.
20

21          95.     The acts, omissions, and conduct of Defendant as alleged herein constitute “business

22 practices” within the meaning of the UCL.

23          96.     Defendant violated the “unlawful” prong of the UCL by violating, inter alia,
24 Plaintiff’s and Class Member’s constitutional rights to privacy, state and federal privacy statutes,

25
     and state consumer protection statutes, such as HIPAA and the California Confidentiality of
26
     Information Act (“CMIA”). Defendant also violated the unlawful prong of the UCL by
27

28

                                                      20
                           CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 21 of 28




 1 disseminating false and misleading statements regarding its privacy practices in violation of

 2 California’s False Advertising Laws.

 3
            97.     Defendant’s acts, omissions, and conduct also violate the unfair prong of the UCL
 4
     because those acts, omissions, and conduct, as alleged herein, offended public policy (including the
 5
     aforementioned federal and state privacy statutes and state consumer protection statutes, such as
 6

 7 HIPAA and CMIA and constitute immoral, unethical, oppressive, and unscrupulous activities that

 8 caused substantial injury, including to Plaintiff and Class Members.

 9          98.     Defendant’s acts, omissions, and conduct also violate the fraudulent prong of the
10 UCL because Defendant made material misrepresentations and omissions of fact to induce Plaintiff

11
     and Class Members to purchase Defendant’s services without disclosing that Defendant shared,
12
     used, and sold Plaintiff’s and Class Members Private Information and without obtaining consent.
13
     Defendant’s acts, omissions, nondisclosures, and misleading statements as alleged herein were and
14

15 are false, misleading, and/or likely to deceive the consuming public.

16          99.     Plaintiff viewed and relied upon Defendant’s representations concerning the

17 confidentiality of information provided by Plaintiff and Class Members to Defendant. Had

18
     Defendant disclosed that it shared Private Information with third parties, Plaintiff would not have
19
     purchased Defendant’s services or would have paid considerably less for those services.
20
            100.    The harm caused by the Defendant's conduct outweighs any potential benefits
21
     attributable to such conduct and there were reasonably available alternatives to further Defendant’s
22

23 legitimate business interests other than Defendant’s conduct described herein.

24          101.    As result of Defendant’s violations of the UCL, Plaintiff and Class Members have

25 suffered injury in fact and lost money or property, including but not limited to payments to

26
     Defendant and/or other valuable consideration, e.g., access to their private and personal data. The
27

28

                                                     21
                           CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 22 of 28




 1 unauthorized access to Plaintiff’s and Class Members’ private and personal data also has diminished

 2 the value of that information.

 3
                                         COUNT III
 4                  VIOLATION OF CALIFORNIA FALSE ADVERTISING LAW
                               Cal. Bus. & Prof. Code § 17500
 5

 6          102.    Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully set

 7 forth herein and brings this claim individually and on behalf of the proposed Class.

 8          103.    This Count is pleaded in the alternative to the breach of contract count above.
 9          104.    The acts, omissions, and conduct of Defendant were controlled, directed, and
10
     emanated from its California headquarters.
11
            105.    California’s False Advertising Law, Cal. Bus. & Prof. Code § 17500, et seq., makes
12
     it “unlawful for any person to make or disseminate or cause to be made or disseminated before the
13

14 public in this state, … in any advertising device … or in any other manner or means whatever,

15 including over the Internet, any statement, concerning … personal property or services, professional

16 or otherwise, or performance or disposition thereof, which is untrue or misleading and which is

17
     known, or which by the exercise of reasonable care should be known, to be untrue or misleading.
18
            106.    Defendant committed acts of false advertising, as defined by § 17500, by
19
     intentionally making and disseminating statements to consumers in California and the general public
20

21 concerning Defendant’s products and services, as well as circumstances and facts connected to such

22 products and services, which are untrue and misleading on their face and by omission, and which

23 are known (or which by the exercise of reasonable care should be known) by Defendant to be untrue

24 or misleading. Defendant has also intentionally made or disseminated such untrue or misleading

25
     statements and material omissions to consumers in California and to the public as part of a plan or
26
     scheme with intent not to sell those services as advertised.
27

28

                                                      22
                            CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 23 of 28




 1          107.    Defendant’s statements include but are not limited to representations and omissions

 2 made to consumers in the intake questionnaire and privacy policy regarding Defendant’s

 3
     commitment to maintain the privacy of Private Information and not to disclose Private Information
 4
     to third parties. Such representations and omissions constitute false and deceptive advertisements.
 5
            108.    Plaintiff viewed and relied upon Defendant’s representations concerning the
 6

 7 confidentiality of information provided by Plaintiff and Class Members to Defendant. Had

 8 Defendant disclosed that it shared Private Information with third parties, Plaintiff would not have

 9 purchased Defendant’s services or would have paid considerably less for those services.
10          109.    Defendant’s actions in violation of § 17500, as described herein, were false and
11
     misleading such that the general public is and was likely to be deceived. Plaintiff and the members
12
     of the Class were deceived by Defendant’s statements and omissions made online when they signed
13
     up and started paying for BetterHelp services, and there is a strong probability that consumers and
14

15 members of the public were also or are likely to be deceived as well. Any reasonable consumer

16 would be misled by Defendant’s false and misleading statements and material omissions. Plaintiff

17 and other members of the Class did not learn of Defendant’s disclosure of their Private Information

18
     until after they had already signed up and paid for Defendant’s services and the FTC settlement was
19
     announced. They relied on Defendant’s statements and omissions to their detriment.
20
            110.    Plaintiff and the Class lost money or property as a result of Defendant’s FAL
21
     violations because they would not have purchased BetterHelp services on the same terms if the true
22

23 facts were known about the product and the BetterHelp services do not have the characteristics as

24 promised by Defendant. Plaintiff, individually and on behalf of all similarly situated consumers,

25 seeks individual, representative, and public injunctive relief and any other necessary orders or

26
     judgments that will prevent Defendant from continuing with its false and deceptive advertisements
27

28

                                                     23
                           CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 24 of 28




 1 and omissions; restitution that will restore the full amount of their money or property; disgorgement

 2 of Defendant’s relevant profits and proceeds; and an award of costs and reasonable attorneys’ fees.

 3

 4                     COUNT IV - VIOLATION OF THE CALIFORNIA
                   CONFIDENTIALITY OF MEDICAL INFORMATION ACT
 5                                     Cal. Civ. Code § 56, et seq
              111. Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully
 6
       set forth herein and brings this claim individually and on behalf of the proposed Class.
 7
              112.    The California Confidentiality of Medical Information Act, Cal. Civ. Code § 56,
 8
       et seq (“CMIA”) prohibits health care providers from disclosing medical information relating to
 9
10     their patients without a patient’s authorization. “Medical information” refers to “any individually

11     identifiable information, in electronic or physical form, in possession of or derived from a
12     provider of health care… regarding a patient’s medical history, mental or physical condition, or
13
       treatment. 'Individually Identifiable' means that the medical information includes or contains any
14
       element of personal identifying information sufficient to allow identification of the individual...”
15
       Cal. Civ. Code § 56.05.
16

17            113.    Defendant is a healthcare provider as defined by Cal. Civ. Code § 56.06.

18            114.    Plaintiff and Class Members are patients, and, as a health care provider, Defendant

19     has an ongoing obligation to comply with the CMIA’s requirements.
20
              115.    As set forth above, names, addresses, telephone numbers, email addresses, device
21
       identifiers, web URLs, Internet Protocol (IP) addresses, and other characteristics that can
22
       uniquely identify Plaintiff and Class members are transmitted to in combination with patient
23
       mental health concerns, treatment(s) sought, medications, and whether the patient is suffering
24

25     from anxiety, depression, or a number of other mental health symptoms. This protected health

26     information and personally identifiable information constitutes confidential information under

27     the CMIA. This information is collected, recorded, and stored by Defendant and intentionally
28
       disclosed to third parties without Plaintiff’s and Class Members’ knowledge or consent.

                                                      24
                           CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
     Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 25 of 28




 1          116.      Facebook ID is also an identifier sufficient to allow identification of an individual.

 2   Along with patients' confidential Private Information, Defendant discloses to Facebook the
 3
     patient’s FID.
 4
            117.      Pursuant to the CMIA, the information communicated to Defendant and disclosed
 5
     to third parties constitutes medical information because it is patient information derived from a
 6
     health care provider regarding patients' medical treatment and physical and mental condition and
 7

 8   is in combination with individually identifying information. Cal. Civ. Code § 56.05(i).

 9          118.      As set forth above, Facebook and other third parties view, process, and analyze
10   the confidential medical information it receives from Defendant and uses that Private Information
11
     for advertising and marketing purposes.
12
            119.      As demonstrated hereinabove, Defendant fails to obtain its patients' authorization
13
     for the disclosure of medical information and fails to disclose in its Website Privacy Policy that
14

15   it shares protected health information with third parties for their marketing purposes.

16          120.      Pursuant to CMIA Section 56.11, a valid authorization for disclosure of medical

17   information must be: (1) “Clearly separate from any other language present on the same page and
18
     is executed by a signature which serves no other purpose than to execute the authorization;” (2)
19
     signed and dated by the patient or her representative; (3) state the name and function of the third
20
     party that receives the information; (4) state a specific date after which the authorization expires.
21
     Accordingly, the information set forth in Defendant’s Website Privacy Policy and any Terms and
22

23   Conditions do not qualify as a valid authorization.

24          121.      Based on the above, Defendant is violating the CMIA by disclosing its patients’

25   medical information to third parties along with the patients’ individually identifying information.
26
     Accordingly, Plaintiff and Class Members seek all relief available for Defendant’s CMIA
27
     violations.
28

                                                      25
                          CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 26 of 28




 1              122.     Plaintiff and members of the Class seek nominal damages, compensatory

 2      damages, punitive damages, attorneys’ fees and costs of litigation for Defendant’s violation of
 3
        the CMIA.
 4
                                                  COUNT IV
 5                                        UNJUST ENRICHMENT
                               (On behalf of Plaintiff and the Nationwide Class)
 6
             123.      Plaintiff repeats and re-alleges each and every allegation contained in the Complaint
 7
     as if fully set forth herein.
 8

 9           124.      This Count is pleaded in the alternative to the breach of contract count above.

10           125.      Defendant benefits from the use of Plaintiff’s and Class Members’ Private

11 Information and unjustly retained those benefits at their expense.

12
             126.      Plaintiff and Class Members conferred a benefit upon Defendant in the form of
13
     Private Information that Defendant collected from Plaintiff and Class Members, without
14
     authorization and proper compensation. Defendant consciously collected and used this information
15
     for its own gain, providing Defendant with economic, intangible, and other benefits, including
16

17 substantial monetary compensation.

18           127.      Defendant unjustly retained those benefits at the expense of Plaintiff and Class
19 Members because Defendant’s conduct damaged Plaintiff and Class Members, all without providing

20
     any commensurate compensation to Plaintiff and Class Members.
21
             128.      The benefits that Defendant derived from Plaintiff and Class Members was not
22
     offered by Plaintiff and Class Members gratuitously and rightly belongs to Plaintiff and Class
23

24 Members. It would be inequitable under unjust enrichment principles in Missouri and every other

25 state for Defendant to be permitted to retain any of the profit or other benefits wrongly derived from

26 the unfair and unconscionable methods, acts, and trade practices alleged in this Complaint.

27

28

                                                        26
                              CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
        Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 27 of 28




 1          129.      Defendant should be compelled to disgorge into a common fund for the benefit of

 2 Plaintiff and Class Members all unlawful or inequitable proceeds that Defendant received, and such

 3
     other relief as the Court may deem just and proper.
 4
                                               RELIEF REQUESTED
 5
               130.         Plaintiff, on behalf of herself and the proposed Class, respectfully requests that
 6
       the Court grant the following relief:
 7

 8                    (a)       Certification of this action as a class action pursuant to Federal Rule of Civil

 9 Procedure 23 and appointment of Plaintiff and Plaintiff’s counsel to represent the Class;
10                    (b)       An order enjoining Defendant from engaging in the unlawful practices and
11
     illegal acts described herein;
12
                      (c)       An order awarding Plaintiff and the Class: (1) actual or statutory damages;
13
     (2) punitive damages—as warranted—in an amount to be determined at trial; (3) prejudgment
14
     interest on all amounts awarded; (4) injunctive relief as the Court may deem proper; (5) reasonable
15

16 attorneys’ fees and expenses and costs of suit pursuant to applicable law; and (6) such other and

17 further relief as the Court may deem appropriate.

18

19                                         DEMAND FOR JURY TRIAL

20             Plaintiff, on behalf of herself and the proposed Class, demand a trial by jury for all of the

21     claims asserted in this Complaint so triable.

22 Dated: March 7, 2023                                 Respectfully submitted,
23

24                                                      By:
                                                        John J. Nelson (SBN 317598)
25                                                      MILBERG COLEMAN BRYSON
                                                        PHILLIPS GROSSMAN, PLLC
26                                                      401 W. Broadway,. Suite 1760
                                                        San Diego, CA 92101
27                                                      Telephone: (858) 209-6941
                                                        Fax: (865) 522-0049
28                                                      Email: jnelson@milberg.com

                                                           27
                                CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
     Case 5:23-cv-01033-NC Document 1 Filed 03/07/23 Page 28 of 28




 1
                                     Gary M. Klinger*
 2                                   Glen L. Abramson*
                                     Alexandra M. Honeycutt*
 3
                                     MILBERG COLEMAN BRYSON
 4                                   PHILLIPS GROSSMAN, PLLC
                                     227 W. Monroe Street, Suite 2100
 5                                   Chicago, Illinois 60606
                                     Telephone: 866.252.0878
 6                                   gklinger@milberg.com
                                     gabramson@milberg.com
 7                                   ahoneycutt@milberg.com
 8
                                     *Pro Hac Vice Application Forthcoming
 9
                                     Attorneys for Plaintiff and the Putative Class
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                        28
                   CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
